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 1                                                                The Honorable Ricardo S. Martinez
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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9   RUSSELL H. DAWSON,                                  NO. 2:19-cv-01987-RSM
10                                                       JOINT PETITION FOR APPROVAL OF
                               Plaintiff,
11                                                       NAPHCARE SETTLEMENT
            vs.
12                                                       NOTE ON MOTION CALENDAR:
     NAPHCARE, INC., et al.,                             FEBRUARY 18, 2022
13

14                             Defendants.

15                                    I.      RELIEF REQUESTED

16          Pursuant to LCR 17(c) and Washington SPR 98.16W, all parties request that this Court

17   approve the proposed settlement of all remaining claims against all remaining defendants,
18
     approve the allocation of the recovery for each minor beneficiary as set forth in the SGAL report,
19
     and approve the disbursement of the minors’ funds into professionally managed trusts for each
20
     minor, which were previously created.
21
                                    II.      STATEMENT OF FACTS
22

23          Plaintiff and the remaining Defendants have reached a settlement, subject to Court

24   approval. The Court previously appointed attorney Jennifer L. White as SGAL to investigate and
25   report on the adequacy of the agreement on behalf of A.G., I.G., S.G., and D.G.
26

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     JOINT PETITION FOR APPROVAL OF NAPHCARE                            KRUTCH LINDELL BINGHAM JONES, P.S.
                                                                                   3316 Fuhrman Ave E
     SETTLEMENT - 1                                                                       Suite 250
                                                                                 Seattle, Washington 98102
     2:19-cv-01987-RSM                                                     TEL. 206.682.1505 • FAX 206.467.1823
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            A proposed written settlement agreement, which details the terms of the proposed
 1

 2   settlement, is included as an exhibit to Ms. White’s report. The proposed allocation of the

 3   monetary payment between the individual beneficiaries, attorneys’ fees, and reimbursement for

 4   litigation expenses is also set forth in Ms. White’s report. Further, Ms. White’s report sets forth
 5
     recommendation that the minors’ funds be disbursed into professionally managed trusts, which
 6
     have already been created.
 7
                                       III.        ISSUES PRESENTED
 8
            1. Whether this Court should approve the proposed settlement agreement?
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10          2. Whether this Court should approve the allocation of the monetary payment for each

11              minor into the previously established trusts, as set forth in the SGAL report?
12                                  IV.       EVIDENCE RELIED UPON
13
            Report of SGAL Jennifer L. White, Dkt. 246 (filed under seal) and the exhibits thereto;
14
     Declaration of J. Nathan Bingham, Dkt. 248 and the exhibits thereto; and the court file.
15
                                              V.     AUTHORITY
16

17          LCR 17(c) provides that “[i]n every case where the court is requested to approve a

18   settlement involving the claim of a minor or incompetent, an independent guardian ad litem, who

19   shall be an attorney-at-law, must be appointed by the court,” to “investigate the adequacy of the
20   offered settlement and report thereon.”
21
            Washington state law has separate minor settlement requirements. See, e.g., SPR
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     98.16W(a) (“[T]he court shall determine the adequacy of the proposed settlement on behalf of
23
     [an unemancipated minor] and reject or approve it.”); Scott v. Pac. W. Mountain Resort, 834
24

25   P.2d 6, 11 (1992) (“Under Washington law[,] parents may not settle or release a child's claim

26   without prior court approval.”); Tinket v. Kent Gypsum Supply, Inc., 977 P.2d 627, 628, n. 1

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     (1999) (“Court approval is necessary when settlements involve minors.’); Kommavongsa v.
 1

 2   Haskell, 67 P.3d 1068, 1084 (2003) (Ireland, J., dissenting) (citing SPR 98.16W).

 3          Courts typically treat the requirements of state law and LCR 17(c) as two distinct sets of

 4   requirements. See, e.g., M.F. v. United States, No. C13-1790JLR, 2015 WL 630946, at *4 (W.D.
 5
     Wash. Feb. 12, 2015). However, federal district courts regularly address the state and federal
 6
     requirements at the same time. See, e.g., Briscoe v. City of Seattle, No. 2:18-cv-00262-TSZ, Dkt.
 7
     149 (W. D. Wash. April 27, 2021) (federal district court approved settlement in compliance with
 8
     LCR 17 and SPR 98.16W); M.W. v. Safeway, Inc., No. 2:18-CV-01404-BAT, 2019 WL
 9

10   4511927, (W.D. Wash. Sept. 19, 2019) (federal district court approved settlement in compliance

11   with Fed. R. Civ. P. 17 and SPR 98.16W).
12          The parties hereby request that the Court approve the proposed settlement under both
13
     state law and LCR 17, and also approve the allocation of the monetary payment to the minors
14
     and disbursement of the minors’ proceeds into the trusts, as set forth in Ms. White’s report.
15

16
            Respectfully submitted this 18th day of February, 2022.
17

18
       KRUTCH LINDELL BINGHAM JONES,                     WILLIAMS KASTNER
19     P.S.

20     By: /s/ J. Nathan Bingham                     By: /s/ Heidi Mandt
       J. Nathan Bingham, WSBA #46325                   Heidi Mandt, WSBA #26880
21
       3316 Fuhrman Ave E, Suite 250                    1515 SW Fifth Avenue, Suite 600
22     Seattle, Washington 98102                        Portland, OR 97201-5449
       Telephone: (206) 682-1505                        Telephone: (503) 228-7967
23     Facsimile: (206) 467-1823                        Facsimile: (503) 222-7261
       Email: jnb@krutchlindell.com                     Email: hmandt@williamskastner.com
24
       Attorneys for Plaintiff                           Attorneys for Defendants
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                                      CERTIFICATE OF SERVICE
 1

 2          The undersigned certifies under penalty of perjury under the laws of the State of

 3   Washington that on this date I caused to be served in the manner indicated a copy of the

 4   foregoing document upon the following persons:
 5                                                       [ ] Via First Class Mail, postage
      Heidi Mandt
      WILLIAMS KASTNER                                       prepaid
 6                                                       [ ] Via Facsimile
      hmandt@williamskastner.com
                                                         [ ] Via Messenger
 7    evarriano@williamskastner.com                      [X] Via E-Mail/E-Service
      lpavey@williamskastner.com
 8
      Attorneys for Defendants NaphCare, Inc.,
 9
      Rebecca Villacorta, Henry Tambe, Nancy
10    Whitney, Billie Stockton, Brittany Martin,
      Jessica Lothrop, Brooke Wallace, Sally
11    Mukwana, Joan Kosanke, Rita Whitman and
      Virginia Richardson
12

13          Signed in Seattle, Washington on the 18th day of February, 2022.
14
                                                  Pia Kim
15                                                Pia Kim, Paralegal

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